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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                 Judge R. Brooke Jackson

Lead Civil Action No. 1:20-cv-01121-RBJ
Consolidated with 1:20-cv-01881-RBJ-KLM; 1:20-cv-01134-RBJ; 1:20-cv-01163-RBJ-KLM;
1:20-cv-01176-RBJ; 1:20-cv-01468-RBJ-KLM; 1-20-cv-01475-RBJ; 1-20-cv-01529-RBJ; 1-20-
cv-01585-RBJ-KLM; and 1-20-cv-01364-KLM

BERNANRD HAN,

       Plaintiff,

v.

VAIL RESORTS, INC.,

       Defendant.


                                    ORDER ON MOTIONS


       On March 14, 2020, the Governor of Colorado ordered Colorado ski resorts to close. On

March 17 Vail Resorts announced that their North American resorts would remain closed for the

season. ECF No. 48-3. Eight days later, on March 25, 2020, Vail Resorts informed its season

pass holders that it was working on a plan “that acknowledges this past season and retains your

loyalty for the future.” ECF No. 48-4 at 3. On April 27, 2020 Vail Resorts offered its pass

holders varying credits against a 2020-21 pass. ECF No. 48-5.

       But already, on April 10, 2020, the first class action lawsuit against the Vail Corporation

seeking refunds on behalf of the pass holders had been filed in California. And, on April 21, 22

and 24, 2020, the first three of what would become the ten class action lawsuits seeking refunds

that are consolidated in this Court was filed. The April 27, 2020 offer contained a click-on link


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that took the customer to a website where the offer was explained in detail. It also acknowledged

that class actions had been filed against the Vail Corporation and Vail Resorts, Inc., and it

provided a link to the class action lawsuits and their law firms that had been filed in Colorado

and elsewhere (it has been updated through September 2, 2020). The notice explained that

acceptance of the credit offer would prevent the pass holder from participating in the class action

lawsuits or any similar lawsuits.

       Because the first four lawsuits were on file before defendant extended its credit offer,

plaintiffs argue that doing so was an abusive tactic, and they move the Court to take various

corrective actions. ECF No. 39. I disagree. In a seasonal business where repeat customers are

potentially critical, it is hardly surprising that Vail Resorts would attempt to preserve its

customers’ good will. Specifically, it is difficult for the Court to understand how it is an abusive

tactic for the company, in the unique circumstances created by the pandemic and the shutdown

order, to reach out to its season pass base and try to entice pass holders to return by offering a

credit against a future pass, just because a few customers were able to get lawsuits seeking

refunds on file before Vail was able to put together a plan to offer a range of credits against the

purchase of a future pass. Nor would this Court expect those who accepted the offer by the

September 7, 2020 deadline to be able to do so without waiving their litigation rights. The offer

disclosed the pendency of the class action lawsuits, identified the plaintiffs’ lawyers and their

contact information, and informed them that acceptance of a credit against a future pass would

waive the right to pursue refunds of the 2019-2020 pass in litigation.

       Having considered plaintiffs’ motion, defendant’s response, and plaintiff’s reply, the

Court does not find the communication to be abusive or contrary to any authority cited by this


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plaintiff, and it denies plaintiffs’ motion. I do agree with plaintiffs that defendant’s supplements,

ECF Nos. 53, and exhibits, effectively a surreply, was not authorized by the Court and is

unnecessary.

                                              ORDER

   1. Plaintiffs’ Motion and Memorandum for Protective Order and Corrective Action [ECF

       No. 39] is DENIED.

   2. Plaintiffs’ Motion to Strike Vail Resorts’ Supplemental Notice Regarding 2019/2020

       Passholder Credit or, in the Alternative, For Leave to File a Response [ECF No. 54] is

       GRANTED.

               DATED this 15th day of October, 2020.

                                                      BY THE COURT:




                                                      ___________________________________
                                                      R. Brooke Jackson
                                                      United States District Judge




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